289 F.2d 491
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.ARGO STEEL CONSTRUCTION COMPANY and Local 25, InternationalAssociation of Bridge Structural and OrnamentalIron Workers, AFL-CIO, Respondents.
    No. 14044.
    United States Court of Appeals Sixth Circuit.
    May 9, 1961.
    
      Rosanna A. Blake, National Labor Relations Board, Washington, D.C., Stuart Rothman, General Counsel, Dominick L. Manoli, Associate General Counsel, Marcel Mallet-Prevost, Asst. General Counsel, Nancy M. Shermen, Attorney, National Labor Relations Board, Washington, D.C., on brief, for petitioner.
      A. L. Zwerdling, Detroit, Mich., and John W. Babcock, Detroit, Mich., Zwerdling &amp; Zwerdling, by George M. Maurer, Jr., Detroit, Mich., on brief, for respondents.
      Before CECIL, WEICK and O'SULLIVAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Consideration and determination of this case were deferred by the Court to await the outcome of cases pending in the Supreme Court which involved somewhat similar issues.  These cases have now been decided.1
    
    
      2
      In our judgment, the order of the Board is supported by substantial evidence and should be enforced by this Court except as to the provisions herein enumerated which should be stricken therefrom.
    
    
      3
      The provisions which must be stricken from the order of the Board are:
    
    
      4
      (1) Paragraph (1) of the affirmative action order issued against Argo Steel Construction Company reading as follows: Jointly and severally with Respondent Union, reimburse all employees for monies illegally exacted from them in the manner and to the extent set forth in the section of this Decision and Order entitled 'The Remedy.'
    
    
      5
      (2) Paragraph (1) of the affirmative action order issued against the Union reading as follows: Jointly and severally with Respondent company reimburse all employees of Respondent company for monies illegally exacted from them is the manner and to the extent set forth in the section of this Decision and Order entitled 'The Remedy.'
    
    
      6
      (3) Preserve and make available to the Board or its agents upon request, for examination and copying, all membership, dues, permit and other records necessary to compute the monies illegally exacted from employees of Respondent Company.
    
    
      7
      An order may be entered enforcing the order of the Board as modified herein.
    
    
      
        1
         Local 60, United Brotherhood of Carpenters &amp; Joiners of America, AFL-CIO et al. v. National Labor Relations Board, 81 S.Ct. 875; National Labor Relations Board v. News Snydicate Company, 81 S.Ct. 849; International Typographical Union, AFL-CIO et al. v. National Labor Relatiosn Board, 81 S.Ct. 855
      
    
    